        Case 1:21-mj-00047-ZMF Document 12 Filed 02/01/21 Page 1 of 3



                                IN THE UNITED STATES DISTRICT COURT FOR THE
                                    DISTR!CT OF COLUMBIA


                                                             )
UNITED STATES OF AMERICA
                                                             )

                                                             )

                                                             )
              VS.
                                                             )

                                                             ) CRIMINAL NO.: 21-mj-00047
DOMINIC PEZZOLA
                                                             )




                                  MOTION TO WITHDRAW AS COUNSEL

         To the Clerk of Court and all parties of record:

         Motion is herewith made to withdraw the appearance of Michael                  P. Scibetta as

  counselfor Defendant Dominic Pezzcla. Mr. Scibetta is a Rochester, NewYork based
  attorney admitted to the District of Columbia District Court pro hac vice. The basis for this
  withdrawal        is   that Mr. Pezzola is indigent and unable to afford private counsel and maintains
 that he cannot maintain an adequate defense in the absence of local District of Columbia
  counsel. A CJA FinancialAffidavit has been filed. Mr. Pezzola was a self-employed individual

  and because of these allegations his business has been irreparably damaged and is no longer

 viable. Mr. Pezzola has no other employment or assets.
         The initial Retainer Agreement (available upon request) was for the three (3) charges

  lodged in the Criminal Complaint. A s.rbsequent lndictment has been returned charging

 eleven (11) violations of law. Family fcr the accused paid the initial retainer but are unable to
  provide additionalfunds. As this matter          is   just lndicted and no detriment will arise,
  Defendant makes this motion, along'lruith counsel.
       "[]f   at any stage of the proceedings, including an appeal, the United States magistrate
or the court finds that the person is financially unable to pay counsel who he had retained, it

may appoint counsel". 18 U.S.C. 5 3006A(c).

       The standard for appointment c,f counsel is "something less than indigency or

destitution" and the appointing court srould properly considerthe economic realities, including
the cost of a criminal defense and the cost of providingforthe defendant and his
         Case 1:21-mj-00047-ZMF Document 12 Filed 02/01/21 Page 2 of 3



dependents, United stofes v. Harris,TltT F.2d 653, 660-661 (2d Ci.l, cert. denied,464U,S,997,

104 S. Ct. 495, 78 L. Ed. 2d 688 (1983).

         "ln sum, the charges alleged in the original indictment pale in comparison to the charges
now alleged in the superseding indictment[...]While the indictment number may remain the

same, there is little other similarity between the original charges[...]and the charges alleged in

the superseding indictment[...]ln light of these unusual circumstances, I find that the inability of

IDefendant] to meet the terms of the :riginal retainer agreement, coupled with the enormous
complexity of the superseding indictment, justifies granting [Counsel's] request to be relieved
as retained counsel for the defendant." UNITED STATES v. HERBAWI, et ol., 9L3 F. Supp. 170

(Les6l

         The Defendant requests the appointment of the Federal Public Defender or CJA counsel

be substituted as counsel of record for Defendant.




Dated: February 1,202L                        Respectfu I ly sub   m   itted,

                                              MICHAEL P. SCIBETTA

                                      B\,:              /s/
                                              Michael P. Scibetta, Esq.
                                              30 West Broad Street
                                              Suite 501
                                              Rochester, New York 1,461,4
                                              (s3s) 232-2770
                                              m i ke @sci betta lawoffice. co m
           Case 1:21-mj-00047-ZMF Document 12 Filed 02/01/21 Page 3 of 3



                                              CERTIFICATE OF SERVICE


         I hereby certify on   the   1,'t   day of February 2O2ta copy of same was delivered to the

parties of record, by email pursuant to the Covid standing order and the rules of the Clerk of

Court.

                                                             lsl
                                                   Michael P. Scibetta
